          Case 1:21-cr-00046-RDM Document 55 Filed 08/09/21 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §         Case No. 21-CR-00046-RDM
                                            §
                                            §
BRADY KNOWLTON,                             §
                                            §
        Defendant                           §

               DEFENDANT’S UNOPPOSED MOTION TO TRAVEL

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

        BRADY KNOWLTON, the Defendant in the above-styled and numbered cause,

by and through his undersigned counsel, requests this Court permit him to travel to

Mexico for work purposes. In support thereof, he would show the following.

1. On April 7, 2021, Mr. Knowlton was released on conditions of release that required

     inter alia that he abide by certain travel restrictions, namely, that he not travel

     outside the state of Utah without permission from the pretrial officer and not

     travel outside the United States without prior permission from the Court. (Doc.

     No. 16, Condition 6(b)(ii) & (iii)).

2. As confirmed at the last status hearing, Mr. Knowlton has been compliant with

     his conditions of release.

3. Mr. Knowlton owns multiple businesses in Mexico that require his attention. Ac-

     cordingly, Mr. Knowlton is seeking permission to travel to Mexico for one week to

     attend to his businesses. More specifically, Mr. Knowlton wishes to travel by air



                                            1
          Case 1:21-cr-00046-RDM Document 55 Filed 08/09/21 Page 2 of 4




   to Cancun, Mexico where he will then travel within the state of Quintana Roo to

   the location of his business. He will depart on August 14, 2021 and return August

   21, 2021. Exact travel details and locations where he will be staying will be pro-

   vided to his supervision officer.

4. Because Mr. Knowlton had to surrender his passport as a condition of his release,

   this travel will require the temporary release of his passport for this limited travel.

   Accordingly, he is seeking permission to have his supervision officer with Pretrial

   Services release his passport to him by on the condition that he return the pass-

   port to his supervision officer with Pretrial Services within 72 hours of his arrival

   back in the United States.

5. Undersigned counsel conferred with counsel for the Government, Elizabeth Kel-

   ley, and confirmed that she does not object to this motion. Undersigned counsel

   also conferred with Mr. Knowlton’s pretrial supervision officer, Devin Dalton, and

   he likewise has no objection to this motion.

   WHEREFORE, PREMISES CONSIDERED, Mr. Knowlton respectfully requests

this Court permit him to travel to Mexico as requested and further requested permis-

sion to have his passport temporarily released to him for the limited purpose of this

travel.

Date: August 9, 2021                     Respectfully Submitted,

                                         RONALD SULLIVAN LAW, PLLC

                                         by: /s/ Ronald S. Sullivan Jr.
                                         RONALD S. SULLIVAN JR.
                                         D.C.D.C. Bar ID 451518
                                         rsullivan@ronaldsullivanlaw.com


                                            2
Case 1:21-cr-00046-RDM Document 55 Filed 08/09/21 Page 3 of 4




                           1300 I Street NW
                           Suite 400 E
                           Washington, DC 2005
                           Telephone: (202) 935-4347
                           Fax: (617) 496-2277
                           MAYR LAW, P.C.

                           by: /s/ T. Brent Mayr
                           T. BRENT MAYR
                           Texas State Bar Number 24037052
                           D.C.D.C. Bar ID TX0206
                           bmayr@mayr-law.com

                           5300 Memorial Dr., Suite 750
                           Houston, TX 77007
                           Telephone: 713-808-9613
                           Fax: 713-808-9613

                           WAGNER PLLC

                           by: /s/ Camille Wagner
                           CAMILLE WAGNER
                           DC Bar No. 1695930
                           law@myattorneywagner.com

                           1629 K Street NW, Suite 300
                           Washington, DC 20006
                           (202) 630-8812

                           ATTORNEYS FOR THE DEFENDANT,
                           BRADY KNOWLTON




                              3
        Case 1:21-cr-00046-RDM Document 55 Filed 08/09/21 Page 4 of 4




                       CERTIFICATE OF CONFERENCE

      I certify that I conferred with both Elizabeth Kelley, attorney for the Govern-

ment, and Devin Dalton, Pretrial Services Officer for the District of Utah assigned to

supervise Mr. Knowlton, and both do not object to his motion.

                                       /s/ T. Brent Mayr
                                       Brent Mayr
                                       Attorney for Brady Knowlton




                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Elizabeth C. Kelley, on August 9, 2021, via CM/ECF and by email to

both her and Devin Dalton, Pretrial Services Officer for the District of Utah assigned

to supervise Mr. Knowlton on the same date.

                                       /s/ T. Brent Mayr
                                       Brent Mayr
                                       Attorney for Brady Knowlton




                                          4
